      Case 2:06-cv-07213-MVL-DEK Document 165-4 Filed 02/03/09 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


PLAQUEMINES PARISH SCHOOL BOARD                                           CIVIL ACTION

VERSUS                                                                    NO: 06-7213

INDUSTRIAL RISK INSURERS, ET AL.                                          SECTION: “S”(3)


                                   NOTICE OF HEARING

TO:     Plaquemines Parish School Board
        through its attorneys of record
        Allan Kanner, Cynthia Green St. Amant, Conlee Schell Whiteley and Melissa M. Fuselier
        Kanner & Whiteley, L.L.C.
        701 Camp Street
        New Orleans, Louisiana 70130

        -and-

        Philip F. Cossich, Jr., David A. Parsiola, Darren D. Sumich, and Brandon J. Taylor
        Cossich, Sumich & Parsiola & Taylor, LLC
        8397 Highway 23
        Belle Chasse, Louisiana 70037

        PLEASE TAKE NOTICE that Defendants’ Motion In Limine to Exclude Plaintiff’s

Expert Paul Amoruso filed by defendants, Industrial Risk Insurers and Westport Insurance

Corporation will come for hearing in the United States District Court, Eastern District of

Louisiana, Section S, Division 3 on February 18, 2009 at 10:00 a.m., or as soon thereafter as

counsel may be heard. You are hereby invited to attend and participate as you may deem

appropriate.

                                             Respectfully Submitted,

                                             JAMES RYAN III & ASSOCIATES, LLC

                                             /s/ Jeffrey A. Clayman
                                             _________________________________
                                             JAMES RYAN III (#11558)
     Case 2:06-cv-07213-MVL-DEK Document 165-4 Filed 02/03/09 Page 2 of 2




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                                                -and-

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                                                Facsimile:   (212) 940-3111
                                                COUNSEL FOR DEFENDANTS


                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 3rd day of February, 2009, I electronically filed the
foregoing pleading with the Clerk of Court by using the CM/ECF system which will send a
notice of electronic filing to all counsel of record.
                                     /s/ Jeffrey A. Clayman
                                _____________________________
                                   JEFFREY A. CLAYMAN




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